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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

PRESTON TAYLOR TIMMONS,

           Plaintiff,

           v.                                             Case No. 21-1078-JAR-GEB

WICHITA POLICE DEPARTMENT and
CRYSTAL A. SHELL, aka Crystal A. Schell,


           Defendants.


                ORDER ADOPTING REPORT AND RECOMMENDATION

       This matter is before the Court on the Report and Recommendation filed on May 3, 2021

(Doc. 7). Fourteen days having passed, and no written objections being filed to the proposed

findings and recommendations by Magistrate Judge Gwynne E. Birzer, and after a de novo

determination upon the record pursuant to Fed. R. Civ. P. 72(b), the Court accepts the

recommended decision and adopts it as its own.

       IT IS THEREFORE ORDERED BY THE COURT that in accordance with the May 3,

2021 Report and Recommendation (Doc. 7), Plaintiff’s Motion to Proceed without Prepayment

of Fees (Doc. 3, sealed) is denied and this case is dismissed without prejudice for failure to

state a cognizable claim under Fed. R. Civ. P. 12(b)(6) and 28 U.S.C. § 1915(e)(2)(B).

       IT IS SO ORDERED.

       Dated: June 1, 2021

                                                  S/ Julie A. Robinson
                                                  JULIE A. ROBINSON
                                                  CHIEF UNITED STATES DISTRICT JUDGE
